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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 16-1570V
                                     Filed: November 20, 2017
                                         Not for Publication

*************************************
LAURA WINTERS,                             *
                                           *
              Petitioner,                  *
                                           *      Damages decision based on
 v.                                        *      stipulation; influenza ("flu") vaccine;
                                           *      Guillain-Barré Syndrome ("GBS")
SECRETARY OF HEALTH                        *
AND HUMAN SERVICES,                        *
                                           *
              Respondent.                  *
                                           *
*************************************
Howard S. Gold, Wellesley Hills, MA, for petitioner.
Christine M. Becer, Washington, DC, for respondent.

MILLMAN, Special Master

                              DECISION AWARDING DAMAGES1

         On November 17, 2017, the parties filed the attached stipulation in which they agreed to
settle this case and described the settlement terms. Petitioner alleges that she suffered from
Guillain-Barré Syndrome (“GBS”) that was caused by her receipt of influenza (“flu”) vaccine on
November 19, 2014. Respondent denies that the flu vaccine caused petitioner to suffer GBS or
any other injury or her current condition. Nonetheless, the parties agreed to resolve this matter
informally.




1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made
available to the public unless they contain trade secrets or commercial or financial information that is
privileged and confidential, or medical or similar information whose disclosure would constitute a clearly
unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and
move to delete such information prior to the document’s disclosure. If the special master, upon review,
agrees that the identified material fits within the banned categories listed above, the special master shall
delete such material from public access.
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        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set forth therein. Pursuant to the stipulation, the court awards a lump sum of
$101,201.50, representing compensation for all damages ($100,000.00) and reimbursement of a
lien for services rendered on behalf of petitioner ($1,201.50), representing all elements of
compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). The award
shall be in the form of a check for $100,000.00 made payable to petitioner and a check for
$1,201.50 made payable jointly to petitioner and

                               Commonwealth of Massachusetts-CRU
                                    Commonwealth of MA
                                      Casualty Recovery
                                       P.O. Box 417811
                                      Boston, MA 02241

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.2


IT IS SO ORDERED.


Dated: November 20, 2017                                            /s/ Laura D. Millman
                                                                         Laura D. Millman
                                                                         Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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